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EXHIBIT

 

 

 

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Commonwea|th of Kentucky

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CR 4.02; CR Oft”rcial Fon‘n 1

Doc. Code: Cl

 

 

ClVlL SU|IIMONS

Jefferson

Court

County

 

 

 

NICOLA WARR

VS.

TOWN AND COUNTRY FORD, LLC

601_5 PRESTON HIGHWAY

LOU|SV|LLE Kentl.lcky

Service of Process Agent for Defendant:
JO_SEP_HA_- &_I_-_\_’AB§Z, '"_
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THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

PLA|NT|FF

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DEFENDANT

40219

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You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on

the document delivered to you with this Summons. Unless a written defen

se is made by you or by an attorney on

your behalf within 20 days following the day this paper is delivered to you, judgment by default may be taken against you

for the relief demanded in the attached Complaint.

The name(s) and address

delivered to you witde S{Jrgnzo:\§

Date:

 

(es_) of the party or parties demanding relief against you are shown on the document

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Clerk
' By: §Q,M D.C.
Pnoof of Servioe

  

This Summons was served by delivering a true copy and the Complaint (or other initiating document) to:

 

 

 

this day of . 2

 

 

Served by:

 
 

 

 

 

 

 

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NO. l$-CI- l 5 l : l 0 3 0 43 JEFFERSON CIRCUIT COURT

DIVISION
MERSOM ClRG!_JET COURT
- 'Ei§_'l§iUN o‘-' ‘K {B] _
NICOLA WARR - PLAINTIFF
v. COMPLAINT
TOWN AND COUNTRY FORD, LLC DEFENDANT
6015 Preston Highway
Louisville, Kentucky 40219
Serve: Joseph A. Alvai'ez III
' Registered Agent
6015 Preston Highway
Louisvi]le, Kentucky 40219
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PRELIMINARY STATEMENT
].- This action seeks damages due to the unfair and fraudulent business practices of

defendant Town and Country Ford, LLC (“Town and Country”). Town and Country
fraudulently submitted false loan applications on Ms. Wan"s behalf, conduct tha;t Ms. Warr did
not authorize and of which she was unaware Ms. Warr seeks damages pursuant to the Fair

Credit Reporting Act, the Kentucky Consumer Protection Act and Kentucky common law caused

by this conduct.
PARTIES AND JURISDICTION
2. Ms. Warr is a resident of the Commonwealth of Kentucky.

3. Town and County is a company organized and existing under the laws of the

Commonwealth of Kentucky that conducts business in this judicial circuit.

 

 

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4. This Court has subject matter jurisdiction over this action and venue is proper.
Ms. Warr’s claims involve an amount in excess of the jurisdictional limit of this Court and a
substantial amount of the conduct giving rise to this matter occurred in Jefferson County,
Kentuclcy.

FACTUAL ALLEGATIONS

5. Ms. Warr is a past customer of Town and Country and, therefore, Town and
Country has records reflecting Ms. Warr’s personally identifying information, including her
address and social security number.

n 6. On or about January 21 , 2015, in conjunction with the sale of a motor vehicle to a
third party, Town and Country knowingly and intentionally used Ms. Warr’s personally
identifying information to submit fraudulent loan applications in conscious disregard of Ms.
Warr’s rights.

7. Ms. Warr did not authorize Town and Country’s use of her information for such a
purpose

8. On or about January 21, 2015, in conjunction with the sale of a motor vehicle to a
third party, Town and Country knowingly and intentionally accessed Ms. Warr’s credit report
and caused at least 8 different financial institutions to access Ms. Warr’s credit report.

9. Ms. Warr did not authorize Town and Country to cause any third party to access
her credit report.

10. 011 or about January 21, 2015, in conjunction with the sale of a motor vehicle to a
third party, Town and Country disclosed confidential information regarding Ms. Warr, including
information regarding her credit, to a third party for the purpose of inducing that third party to

ask Ms. Warr to purchase a new vehicle and/or co-sign a loan to purchase a new vehicle.

 

 

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1 1. Ms. Warr did not authorize 'l`own and Country to disclose her confidential
information to any third party.

12. Town and Country knowingly made these representations and engaged in this
conduct to induce Ms. Warr to enter into a contract for the purchase of a motor vehicle

13. As a consequence of Town and Country’s conduct, Ms. Warr has been damaged
in an amount to be determined at trial.

COUNT I:
KENTUCKY CONSUMER PROTECTION ACT

14. Ms. Warr incorporates by reference the allegations previously set forth in this
Compla.int.

15. Town and Country’s conduct, as described herein, constitutes unfair,
unconscionable false, misleading, and deceptive acts or practices in the conduct cfa trade or
commerce and thus violates Kentucky’s Consumer Protection Act, KRS § 367.1'70, er seq.

16. In addition to compensatory damages, interest, expenses, and court costs, Ms.
Warr is entitled to punitive damages and an award of attorney fees in prosecuting this action. y

COUNT 2:
WILLFUL NONCOMPLIANCE WITI'I
THE FAIR CRE])IT REPORTING ACT, 15 U.S.C. § 1681q

17. Ms. Warr incorporates by reference the allegations previously set forth in this
Complaint.

18. By engaging in the conduct set forth above, Town and Country knowingly and
willfully obtained or knowingly and willfully caused third parties to obtain information on a
consumer from a consumer reporting agency under false pretenses, in violation of 15 U.S.C. §

1681q.

 

 

 

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19. Town and Country’s actions caused Ms. Warr to suffer emotional and mental
anguish, turmoil, stress, embarrassment, humiliation, emotional distress, inconvenience loss of
privacy, credit denials, pecuniary loss, loss of credit opportunities and commercial viability,
harm to reputation, and decrease to his credit score credit rating, and perceived credit
worthiness.

20. In addition to compensatory damages, statutory damages, interest, expenses, and
court costs, Ms. Warr is entitled to punitive damages and an award of attorney fees in
prosecuting this aetion, pursuant to 15 U.S.C. § 1681n.

COUNT 3:
NEGLIGENT NONCOMPLIANCE WITH
THE FAIR CREDIT REPORTING ACT, 15 U.S.C. § 1681q

21. Ms. Warr incorporates by reference the allegations previously set forth in this
Complaint.

22. By engaging in the conduct set forth above Town and Country negligently
obtained or negligently caused third parties to obtain information on a consumer from a
consumer reporting agency under false pretenses, in violation of 15 U.S.C. § l681q.

23. Town and Country’s actions caused Ms. Warr to suffer emotional and mental
anguish, turmoil, stress, embarrassment, humiliation, emotional distress, inconvenience loss of
privacy, credit denials, pecuniary loss, loss of credit opportunities and commercial viability,
harm to reputation, and decrease to his credit score credit rating, and perceived credit
worthiness.

24. In addition to compensatory damages, statutory damages, interest, expenses, and
court costs, Ms. Warr is entitled to an award of attorney fees in prosecuting this action, pursuant

to 15 U.s.c_ § 16310.

 

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COUNT 4:
WILLFUL NONCOMPLIANCE WITH
THE FAIR CREDIT R_EPORTING ACT, 15 U.S.C. § 1681b

25. Ms. Warr incorporates by reference the allegations previously set forth in this
Complaint.

26. By engaging in the conduct set forth above Town and Country knowingly and
willfully accessed or knowingly and willhilly caused third parties to access information on a
consumer ii'om a consumer reporting agency in violation of 15 U.S.C. § 1681b.

27. Town and Country’s actions caused Ms. Warr to suffer emotional and mental
anguish, turmoil, stress, embarrassment humiliation, emotional distress, inconvenience loss of
privacy, credit denials, pecuniary loss, loss of credit opportunities and commercial viability,

harm to reputation, and decrease to his credit score credit rating, and perceived credit

worthiness.

28. In addition to compensatory damages, statutory damages, interest, expenses, and
court costs, Ms. Warr is entitled to punitive damages and an award of attorney fees in

prosecuting this action, pursuant to 15 U.S.C. § l681n.

COUNT 5:
NEGLIGENT NONCOMPLIANCE WITH
THE FAI`R CREI)IT REPORT]NG ACT, 15 U.S.C. § 1681b

29. Ms. Warr incorporates by reference the allegations previously set forth in this
Complaint.

30. By engaging in the conduct set forth above Town and Country negligently
accessed or negligently caused third parties to access information on a consumer from a

consumer reporting agency in violation of 15 U.S.C. § 1681b.

 

 

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31. Town and Count;ry’s actions caused Ms. Warr to suffer emotional and mental
anguish, turmoil, stress, embarrassment humiliation, emotional distress, inconvenience loss of
privacy, credit denials, pecuniary loss, loss of credit opportunities and commercial viability,
harm to reputation, and decrease to his credit score credit rating, and perceived credit
worthiness.

32. In addition to compensatory damages, statutory damages, interest, expenses, and
court costs, Ms. Warr is entitled to punitive damages and an award of attorney fees in
prosecuting this action, pursuant to 15 U.S.C. § 1681n.

COUNT6: §
FRAUD ;

33. Ms. Warr incorporates by reference the allegations previously set forth in this l
Complaint.

34. As set forth above Town and Country fraudulently, willfully and maliciously
misrepresented that Ms. Warr applied for a motor vehicle loan or applied to co-sign for a motor i
vehicle loan.

35. Town and Country intentionally made these misrepresentations to induce third
parties to extend credit to Ms. Warr.

36. Third parties did in fact offer to extend credit to Ms. Warr.

37. As a result of Town and Country’s conduct, Ms. Warr has suffered injury and
damages in an amount to be determined by the evidence at trial.

38. Town and Country’s conduct towards Ms. Warr included oppression, fraud,

and!or malice further entitling Ms. Warr to an award of punitive damages.

 

 

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COUNT 7:
NEGLIGENCE

39. Ms. Warr incorporates by reference the allegations previously set forth in this
Complaint.

40. Town and Country had a duty to maintain the confidentiality of personally
identifying information about its fenner customer, Ms. War'r.

41 . Town and Country further had a duty to refrain from creating false loan
applications on behalf of its former customer, Ms. Warr.

42. By engaging in the conduct set forth above Town and Country breached that
duty.

43. As a direct and proximate result of Town and Country’s breach, Ms. Warr has
sustained and will continue to sustain injury and damages in an amount to be determined by the

evidence at trial.

COUNT 8:
CONVERSION

44. Ms. Warr incorporates by reference the allegations previously set forth in this
Complaint.

45 . Ms. Warr was, and still is, entitled to the immediate and exclusive possession of
her confidential information in the possession of Town and Country.

46. The continued retention of that information by Town and Country constitutes
conversion

47. As a direct and proximate result of Town and Country’s conversion, Ms. Warr has
sustained and will continue to sustain injury and damages in an amount to be determined by the

evidence at trial.

 

 

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48. Town and Country’s conduct towards Ms. Warr includes oppression, fraud,
and/or malice, further entitling her to an award of punitive damages
PRAYER FOR RELIEF
Accordingly, Ms. Warr requests that the Court grant the following relief:

l. Judgment in favor of Ms. Warr, together with an award of compensatory

damages;

2. Statutory damages pursuant to the Fair Credit Reporting Act and the Kentucky

Consumer Protection Act;

3. An award of attorney fees, costs and expenses incurred in prosecuting this action'

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4. Punitive damages;

5. Pre-judgment and post-judgment interest at the maximum rate allowed by law;
6. l Trial by jury on all triable issues; and

7. All other relief to which Ms. Warr may be cntitled.

Respectfully Submitted,

CRAIG HENRY PLC
James Craig
Aaron J. Bentley

§;:h Fiah street Agi;lmoo
Louisville, Kentucky 402
Telephone: (502) 614-5962
Facsimile: (502) 614-5968
jerai crai c law.com

abentlev@craighenrylaw.com

 

Counselfor Nicola Warr

 

